    Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 1 of 29


                                              Pages 1 - 29

                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

          BEFORE THE HONORABLE WILLIAM H. ALSUP, JUDGE


RICHARD WUEST on behalf of     )
himself, and all others        )
similarly situated individuals,)
                               )
           Plaintiff,          )
                               )
  VS.                          )        No. C 18-3658 WHA
                               )
MY PILLOW, INC.; and DOES 1    )
through 50, inclusive,         )
                               )
           Defendant.          )
                               )        San Francisco, California
                                        Thursday, July 11, 2019



                     TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

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Reported By:      Katherine Powell Sullivan, CSR #5812, CRR, RMR
                  Official Reporter - U.S. District Court
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 2 of 29         2


1    Thursday - July 11, 2019                               8:32 a.m.

2                           P R O C E E D I N G S

3                                  ---000---

4             THE CLERK:    Calling civil action 18-3658, Wuest versus

5    My Pillow, Inc.

6        Counsel, please step forward and state your appearance for

7    the record.

8             THE COURT:    Appearances, please.

9             MR. BESHADA:    Good morning, Your Honor.      Donald

10   Beshada, Beshada Farnese, for defendant My Pillow.

11            MR. FARNESE:    Good morning, Your Honor.      Peter Farnese

12   for defendant My Pillow.

13            MR. GROVER:    Eric Grover, plaintiff.

14            THE COURT:    Thank you.

15       I'd like to go through the questions that I sent out.            And

16   let's try to see if you have easy-to-get answers.

17       The first question was:      Has plaintiff ever obtained --

18   I'm talking about Mr. Wuest now.

19       Has Mr. Wuest ever obtained a class settlement, CIPA or

20   otherwise, in which cash members received cash and/or

21   injunctive relief?

22            MR. GROVER:    Your Honor, if it's easier, I prepared a

23   written response to all of them, that I can hand out, that we

24   could go through.

25            THE COURT:    Let me see your written response.
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 3 of 29     3


1             MR. GROVER:    I'll give a copy to counsel.

2             THE COURT:    Does it actually answer the questions?

3             MR. GROVER:    Yes.

4             THE COURT:    All right.    Well, good.    I'm looking at

5    your -- so you say, "Answer: No."

6             MR. GROVER:    I have a couple extra, if you would like,

7    for the clerks.

8             THE COURT:    Hand it to my clerk.

9        All right.    So Question 2:     In each of plaintiff's prior

10   CIPA class actions, how many of plaintiff's calls were alleged

11   to have been recorded without consent?

12       All right.    So you have a chart here.      And these are

13   the -- all right.    This is what's actually alleged in the

14   complaint itself; is that correct?

15            MR. GROVER:    In all the complaints the actual number

16   of calls wasn't alleged, but that was the number of calls.

17            THE COURT:    That didn't answer my question.       Looking

18   only at the four corners of the complaint, did -- I want to

19   know what the complaint itself said.

20            MR. GROVER:    I don't believe the Clearwire complaint

21   alleged all ten calls.    It just said there was a series of

22   calls.   But there was approximately ten.

23       The other complaint --

24            THE COURT:    How do we know that?

25            MR. GROVER:    Well, because --
            Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 4 of 29         4


1                THE COURT:    How do we know there were approximately

2    ten?

3                MR. GROVER:    Because when we litigated the case, we

4    had his phone records.

5                THE COURT:    What did the complaint say?

6                MR. GROVER:    I don't recall exactly what that

7    complaint said from 2012.         I looked back through materials

8    related to the number of calls.

9                THE COURT:    What do you say is the answer?

10               MR. BESHADA:    To Question 2?

11               THE COURT:    Yeah.

12               MR. BESHADA:    I have no reason to doubt that what he

13   says here is accurate.       In this particular case that we had,

14   Mr. Wuest is claiming five calls that were inappropriate.

15               THE COURT:    What?

16               MR. BESHADA:    Mr. Wuest, in this particular case, is

17   claiming five calls inappropriately --

18               THE COURT:    What case?    You mean our immediate case,

19   the instant case?       I'm asking about the prior cases.

20               MR. BESHADA:    Your Honor, I would only say that it

21   seems that we didn't get to that information in discovery.              And

22   it would seem that if I cross-reference the chart that

23   Mr. Grover has in this particular pleading with the chart that

24   he had given us during discovery, if you multiply the number of

25   calls by 5,000 it would seem that what he's putting on this
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 5 of 29   5


1    particular sheet seems to mirror what that document showed.

2        To be clear, Your Honor, the only discovery that we've

3    gotten on these particular cases are the chart and a

4    representation from counsel and from Mr. Wuest that none of the

5    agreements that are reflected in this contain any class relief

6    or any injunctive relief for the class.

7              THE COURT:    All right.   Well, in the -- let's go

8    through this, then, for a second.

9        In the Clearwire case, case number 5061, what was the

10   settlement amount for Mr. Wuest?      What was the amount for the

11   lawyer?

12             MR. GROVER:    Right.   With regard to that, I have a

13   chart that has the information.      I'm not -- I'm not willing to

14   read it into the record because it's subject to a

15   confidentiality agreement.       I'll provide it to the Court.

16             THE COURT:    Well, I'm going to make it public.

17             MR. GROVER:    Okay.    Well, I told the lawyers.    You

18   asked about the meet and confer in the first paragraph before

19   the numbers.   I told the lawyers about your request and that we

20   were having a hearing today at 8:00 a.m.

21             THE COURT:    Let me see your chart.

22       Have you seen this?

23             MR. BESHADA:   I have not.

24             MR. GROVER:    Because it's all, again, subject to --

25   the ones that were not -- that have been added, because they
            Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 6 of 29      6


1    were not in what was originally produced, were all because

2    those counsel did not agree.

3                THE COURT:    All right.    Well, look, all right.     So it

4    says here 5,000 went to Mr. Wuest, 15,000 went to you.

5                MR. GROVER:    Correct.

6                THE COURT:    Now, the next one on your list you just

7    gave me is BP Ventures.

8                MR. GROVER:    That's not a call recording case, so I

9    didn't put it in the chart.

10               THE COURT:    All right.    So the next one is Complete

11   Recovery.     Is that the next one here?

12               MR. GROVER:    Yes, correct.

13               THE COURT:    All right.    So on your -- it says that was

14   $10,000 to Wuest and 70,000 to you.

15               MR. GROVER:    Correct.

16               THE COURT:    Then Wuest v. Comcast Cable, is that the

17   next one?

18               MR. GROVER:    Correct.

19               THE COURT:    That one says 15,000 to Wuest, 175,000 to

20   you.

21          PepsiCo, 10,000 to Wuest, 25,000 to you.

22          Guitar Center, 2500 to Wuest, 2500 to you.

23          Purity Products, 15,000 to Wuest, 55,000 to you.

24          NIU, 10,000 to Wuest, 65,000 to you.

25          I don't see Icon on here.
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 7 of 29    7


1             MR. GROVER:    That's NordicTrack.     That's -- I have it

2    listed there by the product.

3             THE COURT:    Let's see.    Okay.   That's still in

4    litigation.

5             MR. GROVER:    Correct.

6             THE COURT:    And then As Seen On TV that is 5,000 Wuest

7    and 5,000 to you.

8        And then Augusta, 10,000 and 42,500.

9        I want to make it very clear that the Court, this court,

10   meaning me, I'm overruling any of those confidentiality claims.

11   And the reason for that is that I think there's a serious

12   problem here that concerns the use of a class allegation to

13   expropriate to the individual plaintiff and the lawyer a

14   premium by putting extra pressure on the defendant on account

15   of the class allegations.

16       Now, the class winds up getting zero.        There is no class.

17   All of the premium that might have gone to the class goes to

18   the named plaintiff and the lawyer.      And that, to me, is a

19   serious problem.    And this chart that you gave me deserves to

20   be made public because I think it may show exactly that.

21            MR. GROVER:    Well, if I'm allowed to respond.

22            THE COURT:    Go ahead.    I want --

23            MR. GROVER:    It's not --

24            THE COURT:    What?

25            MR. GROVER:    It's not accurate, first of all, to say
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 8 of 29          8


1    there was a premium, because overall the total amount of

2    lodestar spent on all those cases exceeds the amount of fees

3    that were paid.

4        Each individual case has to stand on its own merits.             When

5    we file a case --

6             THE COURT:    What is the basis for attorneys' fees in

7    these cases?   There's --

8             MR. GROVER:    In these particular cases they were

9    negotiated settlements.

10            THE COURT:    But there is no statute, that I can find,

11   that authorizes attorneys' fees.

12            MR. GROVER:    Well, under California -- that's one of

13   your questions, and I have a discussion --

14            THE COURT:    What is it?

15            MR. GROVER:    C.C.P. 1021.5.

16            THE COURT:    All right.    Read that to me.

17            MR. GROVER:    It goes on for a page and a half.       Or a

18   page.   Do you want me to read it?     It's the response to

19   Question Number 3.

20            THE COURT:    It says, "In any action which has resulted

21   in the enforcement of an important right affecting the public

22   interest."

23       Okay.    Well, let's look at 1021.5.      I don't have that

24   here.   Can my law clerk give me the C.C.P.?

25            MR. GROVER:    That would be -- that's what we put in
         Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 9 of 29   9


1    the prayer for relief, and it's what we would be seeking in

2    terms of the case settling on a class.

3             MR. BESHADA:    Your Honor, we have an extra copy.

4             MR. GROVER:    When we file a case and then we learn

5    facts that make it such that we can't continue as a class

6    action, there is -- we settle the case.       We have to move on.

7        I can't -- it's not ever our intent to file a case and not

8    have it be a class action.     That's not the business model we

9    operate under.   It's disappointing when we learn facts that

10   don't allow it to continue as a class action.

11            THE COURT:    In every single case?

12            MR. GROVER:    Of these cases.     I've settled many --

13            THE COURT:    How many of these CIPA cases has Mr. Wuest

14   ever been able to get certified?

15            MR. GROVER:    Mr. Wuest, no.    Mr. Wuest is -- I don't

16   know what to say other than it's completely unusual in terms of

17   all his cases have turned out to have odd facts.

18       But when an arbitration agreement pops up that has a class

19   action waiver, I mean, the Comcast one, we litigated that up

20   through the Ninth Circuit Court of Appeals, up to oral

21   argument.

22       I was involved in working with Public Justice to try and

23   overturn the arbitration agreement.      I spent $175,000 in

24   lodestar working on it.    And I was told that there was a very

25   low probability of overturning it.      And there were issues in
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 10 of 29      10


1    the arbitration agreement that could have created some very bad

2    law for other plaintiffs.    So I have an obligation not to go

3    forward on a case that is not going to work or be harmful.

4        The Guitar Center case, even though the call center

5    representatives were saying the calls were being recorded,

6    Guitar Center was able to demonstrate they were not recording

7    them and it was a mistake by the call center people.        I can't

8    go forward in a case like that.

9        In the Augusta Precious Metals case, it turned out there

10   was a very tiny number of calls.     There is not an opportunity

11   to go forward on a class basis like that.

12       Each of these cases, it's bizarre that they are all

13   happening to the same person.     I grant you that.     He happens to

14   be a person that's aware of his rights under this law, from

15   being a class member in another case back in 2010, so he's

16   alerted to the issue more than people in the general public.

17       But all of these settlements on an individual basis, it's

18   a disappointment frankly.    This is not how we're trying to

19   litigate the cases.

20       We're here today with a class certification motion because

21   in this case we didn't have these issues that were -- happened

22   in those cases.

23           THE COURT:    Is there any decision, ever, where under

24   the CIPA, Section 1021.5 was used to award attorneys' fees?

25           MR. GROVER:    I'm not aware of any that have gone
           Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 11 of 29     11


1    through trial.      So the cases that settled, people were

2    collecting fees based on the common fund period.

3               THE COURT:    No.   I'm asking, is there any decision in

4    the history of the universe which has expressly said you can

5    collect fees, attorneys' fees, under 1021.5 in a CIPA case?

6               MR. GROVER:    I don't have an answer to that.

7               MR. BESHADA:     We have been able to find none, Your

8    Honor.

9               MR. GROVER:    It's a statute of general application.

10   It's not specific to CIPA or any other statute.

11          I want to be clear, because it's on the record I'm being

12   accused essentially of wrongdoing.

13              THE COURT:    I'm coming pretty close to that.        I want

14   to give you a fair chance here, but I want to be frank about

15   it.    I practiced for almost 25 years, and I've been in this job

16   20 years.     And I believe strongly in the value of class

17   actions.

18              MR. GROVER:    As do I.

19              THE COURT:    And I've never seen a case where

20   somebody -- I've seen occasionally where somebody gets a

21   premium by alleging, but it's rare.         Most plaintiff's lawyers

22   in your position actually go through the process.

23              MR. GROVER:    Well --

24              THE COURT:    And you haven't here.

25              MR. GROVER:    I don't understand "go through the
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 12 of 29         12


1    process."

2               THE COURT:    You've never taken Mr. Wuest through a

3    single class action.     It's always settled for a premium.

4               MR. GROVER:   Well, you keep saying it settled for a

5    premium.    I don't know what you mean by "a premium."

6        Guitar Center is not a premium.       Some cases settled for

7    the number of calls he had.      Some settled less; some settled

8    more.

9        Overall, he's recovered less than his calls times 5,000.

10   And overall I've recovered less than the fees and costs that I

11   put in the case.   You can pick out an example here and there

12   but --

13              THE COURT:    Let's go through 1021.5.   You have to meet

14   three things.   The first one is a significant benefit, whether

15   pecuniary or nonpecuniary, has been conferred on the general

16   public or a large class of persons.

17       Now, when we have an individual settlement, how can that

18   possibly be satisfied?

19              MR. GROVER:   I didn't say the individual settlements

20   were subject to any particular attorneys' fees provision.            The

21   individual settlements are based on what the parties agree to,

22   just like settlements that happen every day.

23              THE COURT:    Yeah.   And, see, the point is that in an

24   individual case, an individual CIPA case, there is no right to

25   attorneys' fees.   Zero.    And your lodestar doesn't make any
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 13 of 29       13


1    difference.

2        What matters is what the plaintiff can recover, and then

3    you get a percentage of that.     But you don't get attorneys'

4    fees in addition to that.    It's a buyoff.     It's a payoff.

5             MR. GROVER:   Well, I take exception to that.        It's not

6    true.

7             THE COURT:    It is true.

8             MR. GROVER:   It's not true.

9             THE COURT:    That's what you've been doing.

10            MR. GROVER:   No.

11            THE COURT:    That's what your career is.

12            MR. GROVER:   That is --

13            THE COURT:    At least with Mr. Wuest, that's what it

14   shows.

15            MR. GROVER:   I have settled dozens and dozens and

16   dozens of class actions.     I have put tens of millions, more

17   than that, of dollars in the pockets of employees and consumers

18   for many years.

19       I cannot be responsible for certain facts that come to

20   light once the case is filed.     I have an obligation not to

21   pursue a case through class certification that doesn't have a

22   basis for it.   And so we resolve the case and we move to the

23   next case.

24            THE COURT:    All right.    Let's continue with my

25   questions.
           Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 14 of 29    14


1           Before I leave that, though, did you have something on

2    your side you wanted to add or subtract to the questions I've

3    gone over yet so far?

4               MR. BESHADA:     No, Your Honor, other than I just point

5    out that 1021.5, the first two words of 1021.5 is "upon motion"

6    the Court may award reasonable attorneys' fees.           I don't know

7    whether motions were made in any of these cases to approve any

8    payment of attorneys' fees.

9           And then I would just like to point the Court to a case

10   called Satrap -- S-a-t-r-a-p -- v. Pacific Gas & Electric

11   Company.

12          And when talking about the private attorney general

13   statute, that court has a quote that says that private attorney

14   general fees -- this is not a quote -- are not intended to

15   provide insurance for litigants and counsel who misjudge the

16   value of their case and end up with a low verdict.

17          That's from the Rutter's guide.       The quote from the case

18   is:

19              "Rather, the purpose is to, quote, provide some

20          incentive for the plaintiff who acts as a true private

21          attorney general prosecuting a lawsuit that enforces an

22          important public right and confers a significant benefit

23          despite the fact that his or her own financial stake in

24          the outcome would not by itself constitute an adequate

25          incentive to litigate."
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 15 of 29     15


1             THE COURT:    What does it cite to, the decision?

2             MR. BESHADA:    It is Satrap v. Pacific Gas & Electric

3    Company, 42 Cal. App. 4th, 80.

4             THE COURT:    What page?

5             MR. BESHADA:    At 80.   That's the quote, is on page 80.

6             THE COURT:    All right.   Let's go to Question 4.      How

7    many CIPA cases has plaintiff litigated to and including...

8    refer back to none, see Question 1.

9        Question 5:    What case law or statutes allow the

10   aggregation of $5,000 statutory damages across the class?

11            MR. GROVER:    Both the statute, California case law,

12   and federal decisions interpreting California case law or

13   interpreting the statute, have all found that.

14            THE COURT:    What do you have to say to that one?

15            MR. BESHADA:    Number 5, Judge, the only case that

16   we've been able to find on a CIPA case is actually just a case

17   on class certification.

18       And it discusses the decision to look at the aggregation

19   in that particular set of circumstances as not something that

20   was looked at at the class certification stage but something

21   that the Court could look at after the class certification

22   stage.   That is a case involving Omni Hotels from the

23   Central District of California.

24       I think the facts of those particular cases are

25   significantly different.    And I would suggest that the facts of
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 16 of 29   16


1    this case are more inclined to the teachings of Kline v.

2    Coldwell Banker, which when you were looking at the type of

3    statutory aggregation liability that a company like My Pillow

4    has in this case, when you compare that to the actual harm to

5    the class, which in this particular case Mr. Wuest has

6    testified that he suffered no injuries, either physical,

7    mental, or emotional, that when you look at that testimony by

8    the class representative against a potential $87 million

9    aggregated statutory verdict here, in a situation where the

10   company had a policy of recording, made a mistake for a period

11   of time, that I think the teaching of Kline, the principle then

12   was if the aggregation of damages is so disproportionate to the

13   actual harm suffered by the class in the case -- and there is

14   no legislative history that suggests that that should be done

15   in a situation like this -- that the courts would say that on a

16   superiority analysis that the class action device is not the

17   superior method to adjudicate a case like this.

18           THE COURT:    Is that a Ninth Circuit decision?

19           MR. BESHADA:     Ninth Circuit decision.

20           THE COURT:    Right.

21           MR. GROVER:    Can I address that briefly?

22           MR. BESHADA:     There is a subsequent decision, Judge,

23   Bateman, from 2010, which distinguishes Kline in that context

24   in the FACTA, F-A-C-T-A, federal scheme that the two statutes

25   were different between Bateman and Kline.
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 17 of 29     17


1        And in the Bateman case the Ninth Circuit rejected the

2    Kline theory and said that if the statute didn't -- if the

3    legislative history --

4            THE COURT:     You've got to be more succinct.      You're

5    going on and on and on.

6        What did you want to say?

7            MR. GROVER:     Well, counsel's point is going to

8    something different.    The Court asked whether or not there were

9    cases that said the 5,000 is aggregated across the action or is

10   it per violation.

11       The cases I've cited are decisions by the California Court

12   of Appeal finding multiple calls in the case all were being

13   compensated for showing that it was per call.       And then there's

14   federal cases on that.

15       Counsel's aggregation discussion of Kline, which was

16   overruled by Bateman, was whether or not you should look at

17   whether the total damages added up together are so high that

18   class certification should be denied on that point alone, from

19   a superiority standpoint, and Bateman says no.

20           THE COURT:     All right.

21           MR. GROVER:     So it's two different issues.

22           THE COURT:     The next question:    With respect to

23   Attorney Eric Grover, which CIPA cases has he litigated to a

24   classwide settlement?

25       And then you have a chart here that starts with one in our
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 18 of 29      18


1    very court called McKay, 11.7 million, then goes down to other

2    settlements.   So it looks like a list of about 11 cases.

3              MR. GROVER:    I believe it's 12.

4              THE COURT:    Twelve, all right.

5              MR. GROVER:    42,928,000 total.

6              THE COURT:    So do you question this chart?

7              MR. BESHADA:   I do not, Judge.

8              THE COURT:    All right.   Next, Question 7:    Is it

9    possible to tell from the records available to the parties

10   which of the numbers were cellular phone numbers?

11       Answer:    Yes.

12       Is it further possible to tell the state of residence of

13   the person to whom that number is assigned?

14       What's the answer to that?

15             MR. GROVER:    Partially, yes.   There are some of the

16   records -- so I reproduced part of a chart.       It's a little hard

17   to see.   I have the whole page of the chart, if it's a little

18   easier.

19       This is information that the defendant already gleaned

20   from the calls.    In one of the columns, I and J are the

21   location and state where the phone number that was found is

22   associated with.

23       It also says on the chart that's a cellular call.          And it

24   would show, for example, what you can't see, it's -- it says,

25   like, Jackson, California, Fresno, California.
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 19 of 29   19


1            THE COURT:    I can't read that tiny print.

2            MR. GROVER:    I have a larger page of it, if you would

3    like.

4            THE COURT:    Yes.   Hand that up.     Thank you.

5        All right.    What do you say is the answer?

6            MR. BESHADA:     Your Honor, with respect to column I,

7    the location, that's where the phone is registered, not

8    necessarily where the call came from.

9        And with respect to Question 7A, it's possible to tell the

10   cell phone or the carrier.    And we can tell the carrier.

11   Although, we can't confirm that all of the carriers were

12   actually cellular telephones.     But from what Mr. Grover's

13   expert said and what our experts say, it's between a 60 and

14   95 percent positive that we can determine that.        That's

15   question 7A.

16       Question 7B, to determine where the actual calls came

17   from, we believe that that would be a very complicated analysis

18   that would require essentially the personal cell phone records

19   of every single class member to determine where they were at a

20   certain time when a certain call was made.

21           MR. GROVER:    Your Honor, that wasn't actually the

22   question.   The question was, is it possible to tell the state

23   of residence of the person to whom the number was assigned?

24       And so there's information on the data that they ran on

25   all the calls that shows at least where the phone is
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 20 of 29    20


1    registered.   Defendant also has information on everyone who

2    made an order, who made a call during that time period, and

3    where they shipped the order to.

4        And then, also, as our -- one of our experts put in her

5    declaration, that with the telephone numbers and reverse pin

6    process in the high 90s you can take a telephone number and

7    generate an accurate address.

8            MR. BESHADA:     And that's of where the phone is

9    registered as opposed to the example that Mr. Wuest actually

10   gave in his deposition testimony.

11       If you have a cell phone carrier with multiple phones on

12   one account, despite the fact that the account may be

13   registered in the state of California and the area code may be

14   the state of California, the call may be made on one of the

15   separate lines where the person may not necessarily be in the

16   state of California.   For example, children and their parents.

17       I have a daughter that goes to school in Alabama, and

18   she's on my account.   That phone would be registered to me at a

19   New Jersey address, yet calls from that phone -- and her

20   residence is actually the state of Alabama.

21           MR. GROVER:    The issue of where people make calls is

22   separate from the issue of the state of residence.        Where

23   people make calls is a damage question.

24           MR. BESHADA:     We don't agree.    We think you have to be

25   in the state of California to make the call.       So I think that
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 21 of 29     21


1    would be part of the qualification for being a class member as

2    opposed to a damage issue.

3             THE COURT:    All right.   Well, I've skipped ahead and

4    read the other answers that you've given to the other

5    questions.

6        To save time, I will just had -- on question number 11, I

7    am trying to find out whether or not any judge ever reviewed

8    any of the settlement agreements.

9        It sounds like the answer is no, but you say that was

10   dismissal -- these places where you say, yes, a judge signed

11   the dismissal, was that simply a form order saying dismissing

12   the case in light of the settlement?

13            MR. GROVER:   In California, under California Rule of

14   Court 3.770, you have to submit a declaration with information

15   as to why the case should be dismissed, and an order.         So the

16   Court gets the declaration and then a form of order, which they

17   can either choose to sign the form of order or issue their own

18   order.

19            THE COURT:    Well --

20            MR. GROVER:   So that's --

21            THE COURT:    Is that state court practice?

22            MR. GROVER:   That's a state requirement.       So all the

23   state court cases that was followed.

24       And then with regard to the federal cases, there were

25   41(a)(1)(2) stipulations filed, but still in some cases the
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 22 of 29   22


1    judge did sign off.

2            THE COURT:     What I'm trying to find out is whether or

3    not any judge ever blessed the dollar amounts.

4            MR. GROVER:     In at least one of -- PepsiCo, off the

5    top of my head, the dollar amount is in the declaration filed

6    with the state court.

7            THE COURT:     Including the attorneys' fees?

8            MR. GROVER:     It said total that would be paid for

9    everything.   And I believe -- it's in the record -- how many

10   calls that the plaintiff had.

11           THE COURT:     That would have been -- that would have

12   been a total of 35,000, of which -- based on two phone calls.

13           MR. GROVER:     Correct.

14           THE COURT:     Do you have that declaration here?

15           MR. GROVER:     It's in the docket.     I don't --

16           THE COURT:     Can I see it, please?

17           MR. GROVER:     Counsel has it.

18           THE COURT:     All right.   I'm looking at something

19   called Wuest v. PepsiCo Declaration of Eric Grover,

20   November 14th, 2017.

21       All right.    Is this the only one that called out the

22   dollar amount?

23           MR. BESHADA:     Your Honor, we have another one here,

24   which is the Guitar Center, Inc. case.      That also called out

25   the dollar amount.
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 23 of 29     23


1              THE COURT:    All right.   And what I'm going to be

2    asking, are there any others?     This one says total 5,000, but

3    does not say how it will be split up.      Okay.   Any others?

4              MR. GROVER:    Counsel is looking.    My recollection is

5    the other ones did not say the dollar amount.

6              MR. BESHADA:   That's all we have, Your Honor.

7              THE COURT:    In the Comcast Cable case, which was for

8    190,000, it says here there was one call.       So what accounts for

9    that large settlement?

10             MR. GROVER:    The total settlement?

11             THE COURT:    What?

12             MR. GROVER:    What accounts for the settlement?

13             THE COURT:    It's 190,000, but there was one phone

14   call.   The maximum recovery was $5,000.

15             MR. GROVER:    It accounted for the time and effort that

16   was put into the case and what the defendant was willing to

17   pay.

18             THE COURT:    How much time and effort was there?

19             MR. GROVER:    At least $175,000 in fees.     There was

20   multiple rounds of briefing at different levels.

21          As I said before, the aggregate time and expenses in all

22   these cases is less than the amount paid.

23             THE COURT:    See, the thing is, though, I don't buy

24   your 1021.5 argument because when you settle on an individual

25   basis it doesn't apply.
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 24 of 29   24


1             MR. GROVER:   But --

2             THE COURT:    The only recovery -- you're getting a

3    premium for the class action that never occurred.

4             MR. GROVER:   I just -- I disagree with that, that

5    that's the way to look at it.

6             THE COURT:    Okay.

7             MR. GROVER:   I mean, if we were trying to get people

8    to settle and not pursue a class action, we would contact them

9    before filing anything and say this is what we're planning to

10   do if you don't settle with us.

11       But we don't do that because the intention always is to

12   follow through with a class action.      I mean, that is --

13            THE COURT:    Mr. Wuest has never done it.      And he's

14   filed, what, 12 cases?

15            MR. GROVER:   Mr. Wuest has had a very strange set of

16   circumstances occur each time that are -- there's no

17   explanation for the oddball scenarios that have come up in his

18   cases, but they've all happened independently.

19       All these defendants are different.        I can't control the

20   facts that --

21            THE COURT:    He's the one that wants to be the

22   representative.

23            MR. GROVER:   And he wants to be the representative

24   here.   That's why we filed the motion.

25            THE COURT:    Maybe his track record is somebody who
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 25 of 29       25


1    can't be trusted.

2               MR. GROVER:   Well, what has he done that he can't be

3    trusted?

4               THE COURT:    He's extracted a premium for using the

5    Rule 23 device.   It's quite clear.

6               MR. GROVER:   Well, I just fundamentally disagree.

7               THE COURT:    Maybe the Ninth Circuit will bail you out,

8    but to my mind this makes -- this is a stain on the good name

9    of Rule 23.

10              MR. GROVER:   Well, I --

11              THE COURT:    Is Mr. Wuest here today?   Is that him back

12   there?

13              MR. GROVER:   No, he's at work.

14              THE COURT:    Where?

15              MR. GROVER:   At work.

16              THE COURT:    Okay.    All right.

17              MR. GROVER:   I mean, if we didn't file the motion -- I

18   mean, we've gone through the case.       We've litigated the case.

19   I litigate cases vigorously.       I've settled cases for good

20   value.   I'm taken class action case to trial.

21       I have been doing this for over 30 years.         I've not had

22   any court ever impugn my integrity.       I don't cut corners.       I

23   don't do things that are incorrect.

24              THE COURT:    Next time when Mr. Wuest darkens your

25   door, you ought to do a little bit more homework.        That's my
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 26 of 29          26


1    advice to you.

2        And I won't go so far as to impugn your integrity, but I

3    will Mr. Wuest.   And any lawyer who is representing Mr. Wuest

4    this many times with this many glitches should know better.

5        So I am making a criticism of you.       I would have looked at

6    any case Mr. Wuest brought to my door as a lawyer.        After this

7    track record, I would have said to him, you know, we better

8    look at it very, very carefully before we go down that road

9    again.

10       But, you know, he's been a good profit center for you.

11            MR. GROVER:   He hasn't been a profit center.

12            THE COURT:    Yes, he has.   A half million dollars in

13   fees you've gotten out of Mr. Wuest.

14            MR. GROVER:   More than that in time.      So it's actually

15   not a profit center.

16            THE COURT:    That's what you say.     You know, let's get

17   your records.    Maybe I'll let these people take your deposition

18   to find out if that's really true instead of cutting and

19   pasting some other brief.

20       All right.    I'm going to give each of you -- on the

21   general issue of whether or not to certify class, I'll give

22   each of you an opportunity to say what you'd like to say.            Then

23   I've got to go to the Amtrak case.

24            MR. GROVER:   I'll add, with regard to the issues that

25   are being raised concerning Mr. Wuest and his ability to serve
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 27 of 29    27


1    as a class representative, you know, the defendant is relying

2    on the Backus case, which is Your Honor's case.        In that case

3    it was an issue that that plaintiff's involvement in other

4    cases went to the issue of reliance and whether or not he had

5    certain knowledge.

6        Here there's no question that the defendant was recording

7    without a warning.     There's no question that the plaintiff

8    called and was recorded without a warning.

9        There's nothing about these other settlements -- I don't

10   even see how they come up in the context of the case and how

11   they're even part of the evidence in the case if we had a class

12   action.   How is it relevant that he was involved as a plaintiff

13   in a case in which there was a class action waiver and it

14   couldn't be pursued through certification?

15             THE COURT:   Okay.   Thank you.

16       What do you have to say?

17             MR. BESHADA:   Your Honor, on the issue of discovery

18   and the issues with the other settlements, I would like to put

19   on the record that we attempted to do that in Mr. Wuest's

20   deposition.

21       We were foreclosed from getting that information from the

22   attorney-client privilege, and we were not able to determine

23   exactly why he --

24             THE COURT:   Well, I got some of that information

25   today.
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 28 of 29       28


1            MR. BESHADA:     We think this case is on all fours in

2    Your Honor's decision in Backus.

3            THE COURT:    Well, Backus is a little different.        I

4    agree it's not on all fours, but it does raise very troubling

5    issues for the judge.    It's a different problem than Backus.

6    It's similar in one respect.

7        I want to just say I believe in class actions.         I believe

8    it's a very worthwhile rule.     I'm in favor of them.     But I have

9    a strong, strong dedication to the proposition that we need to

10   protect the absent class members.     And that means putting

11   somebody in charge of the class, the named representative, who

12   we can trust.

13       Now, there is a long-standing abuse that very few lawyers

14   engage in, which is to put in a class allegation and then

15   settle, settle for a premium.     The individual claim is only

16   worth $5,000.   There's no statutory right to fees, so how do

17   you get to these gigantic numbers?      Well, it's the premium.

18       If it was an individual case with no class action in

19   there, there's no way in the world that somebody would pay

20   $180,000 for a $5,000 case.     No way.   It's the class.     It's the

21   threat of a class that scares the defendants, and it's worth it

22   to them because of the cost of litigation and potential

23   exposure.

24       Now, most lawyers I have seen are above that, and that's

25   why Rule 23 continues to do good justice in America.        But we,
        Case 3:18-cv-03658-WHA Document 47 Filed 07/25/19 Page 29 of 29   29


1    as judges, have got to exercise some oversight on the process

2    to avoid these abuses.    And I think Mr. Wuest -- if not the

3    lawyer, at least Mr. Wuest is Mr. Abuse, a-b-u-s-e.

4        All right.    So it's not quite the same as Mr. Backus.

5    It's a different problem.

6        All right.    I've got to let you all go and go to the next

7    case.   Thank you.

8             MR. BESHADA:    Thank you, Your Honor.

9             MR. GROVER:    Thank you for your time.

10            THE COURT:    You're most welcome.

11       (At 9:14 a.m. the proceedings were adjourned.)

12                                - - - - -

13

14                         CERTIFICATE OF REPORTER

15            I certify that the foregoing is a correct transcript

16   from the record of proceedings in the above-entitled matter.

17   DATE: Wednesday, July 24, 2019

18

19

20

21            ______________________________________________

22            Katherine Powell Sullivan, CSR #5812, RMR, CRR
                            U.S. Court Reporter
23

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